IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff, : Civil Action No.

WILLIAM RHEW Ii,

Defendant

CONSENT OF DEFENDANT WILLIAM RHEW III TO ENTRY OF
JUDGMENT

1. Defendant William Rhew III (““Rhew” or “Defendant”) acknowledges
having been served with the Complaint in this action, enters a general appearance,
and admits the Court’s jurisdiction over Defendant and over the subject matter of
this action.

2. Without admitting or denying the allegations of the Complaint (except
as provided herein in paragraph 12), and except as to personal and subject matter
jurisdiction, which Defendant admits, Defendant hereby consents to the entry of

the Consent Judgment in the form attached hereto (the “Judgment”’) and

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incorporated by reference herein, which, among other things:

(a) permanently restrains and enjoins Defendant from violating, directly
or indirectly, Section 17(a) of the Securities Act of 1933 (“Securities Act”) [15
U.S.C. § 77q{a)] and Section 10(b) of the Securities Exchange Act of 1934
(“Exchange Act’) [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. §
240.10b-5], as provided in the Judgment;

(b) bars Defendant, pursuant to Section 21(d)(2) of the Exchange Act
[15 U.S.C. § 78u(d)(2)] and Section 20(e) of the Securities Act [15 U.S.C.
§ 77t(e)], from acting as an officer or director of a public company;

(c) bars Defendant from trading securities, except in personal accounts;

(d) requires Defendant to provide an Accounting as to assets owned or
controlled by Defendant; and

(ec) leaves open the amount of disgorgement, prejudgment interest and
the civil penalty that will be imposed against Defendant to be resolved upon
motion of the Commission at a later date.

3. Defendant agrees that the Court shall order disgorgement of ill-gotten
gains, prejudgment interest thereon, and civil penalties pursuant to Section 20(d) of
the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15
U.S.C. § 78u(d)(3)]. Defendant agrees that the amount of the disgorgement and

civil penalties shall be determined by the Court upon motion of the Commission,

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and that prejudgment interest shall be calculated from November 30, 2017, based
on the rate of interest used by the Internal Revenue Service for the underpayment
of federal income tax as set forth in 26 U.S.C. § 6621(a)(2). Defendant further
agrees that in connection with the Commission’s motion for disgorgement and/or
civil penalties, and at any hearing held on such a motion: (a) Defendant will be
precluded from arguing that he did not violate the federal securities laws as alleged
in the Complaint; (b) Defendant may not challenge the validity of this Consent or
the Judgment; (c) solely for the purposes of such motion, the allegations of the
Complaint shall be accepted as and deemed true by the Court; and (d) the Court
may determine the issues raised in the motion on the basis of affidavits,
declarations, excerpts of sworn deposition or investigative testimony, and
documentary evidence, without regard to the standards for summary judgment
contained in Rule 56(c) of the Federal Rules of Civil Procedure. In connection
with the Commission’s motion for disgorgement and/or civil penalties, the parties
may take discovery, including discovery from appropriate non-parties.

4. Defendant agrees that he shall not seek or accept, directly or
indirectly, reimbursement or indemnification from any source, including but not
limited to payment made pursuant to any insurance policy, with regard to any civil
penalty amounts that Defendant pays pursuant to the Judgment, regardless of

whether such penalty amounts or any part thereof are added to a distribution fund

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or otherwise used for the benefit of investors. Defendant further agrees that he
shall not claim, assert, or apply for a tax deduction or tax credit with regard to any
federal, state, or local tax for any penalty amounts that Defendant pays pursuant to
the Judgment, regardless of whether such penalty amounts or any part thereof are
added to a distribution fund or otherwise used for the benefit of investors.

5. Defendant waives the entry of findings of fact and conclusions of law
pursuant to Rule 52 of the Federal Rules of Civil Procedure.

6. Defendant waives the right, if any, to a jury trial and to appeal from
the entry of the Judgment.

7. Defendant enters into this Consent voluntarily and represents that no
threats, offers, promises, or inducements of any kind have been made by the
Commission or any member, officer, employee, agent, or representative of the
Commission to induce Defendant to enter into this Consent.

8. Defendant agrees that this Consent shall be incorporated into the
Judgment with the same force and effect as if fully set forth therein.

9. Defendant will not oppose the enforcement of the Judgment on the
ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of
Civil Procedure, and hereby waives any objection based thereon.

10. Defendant waives service of the Judgment and agrees that entry of the

Judgment by the Court and filing with the Clerk of the Court will constitute notice

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to Defendant of its terms and conditions.

11. Consistent with 17 C.F.R. § 202.5(f), this Consent resolves only
claims asserted against Defendant in this civil proceeding. Defendant
acknowledges that no promise or representation has been made by the Commission
or any member, officer, employee, agent, or representative of the Commission with
regard to any criminal liability that may have arisen or may arise from the facts
underlying this action or immunity from any such criminal liability. Defendant
waives any claim of Double Jeopardy based upon the settlement of this proceeding,
including the imposition of any remedy or civil penalty herein. Defendant further
acknowledges that the Court’s entry of a permanent injunction may have collateral
consequences under federal or state law and the rules and regulations of self-
regulatory organizations, licensing boards, and other regulatory organizations.
Such collateral consequences include, but are not limited to, a statutory
disqualification with respect to membership or participation in, or association with
a member of, a self-regulatory organization. This statutory disqualification has
consequences that are separate from any sanction imposed in an administrative
proceeding. In addition, in any disciplinary proceeding before the Commission
based on the entry of the injunction in this action, Defendant understands that he
shall not be permitted to contest the factual allegations of the Complaint in this

action.

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12. Defendant understands and agrees to comply with the terms of 17
C.F.R. § 202.5(e), which provides in part that it is the Commission’s policy “not to
permit a defendant or respondent to consent to a judgment or order that imposes a
sanction while denying the allegations in the complaint or order for proceedings,”
and “a refusal to admit the allegations is equivalent to a denial, unless the
defendant or respondent states that he neither admits nor denies the allegations.”
As part of Defendant’s agreement to comply with the terms of Section 202.5(e),
Defendant (1) will not take any action or make or permit to be made any public
statement denying, directly or indirectly, any allegation in the Complaint or
creating the impression that the Complaint is without factual basis; (ii) will not
make or permit to be made any public statement to the effect that Defendant does
not admit the allegations of the Complaint, or that this Consent contains no
admission of the allegations, without also stating that Defendant does not deny the
allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any
papers filed in this action to the extent that they deny any allegation in the
Complaint; and (iv) stipulates solely for purposes of exceptions to discharge set
forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, that the allegations
. in the Complaint are true, and further, that any civil penalty or other amounts due
by Defendant under the Judgment or any other judgment, order, consent order,

decree or settlement agreement entered in connection with this proceeding, is a

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debt for the violation by Defendant of the federal securities laws or any regulation
or order issued under such laws, as set forth in Section 523(a)(19) of the
Bankruptcy Code, 11 USC. § 523(a)(19). If Defendant breaches this agreement,
the Commission may petition the Court to vacate the Judgment and restore this
action to its active docket as to Defendant. Nothing in this paragraph affects
Defendant’s: (i) testimonial obligations; or (ii) right to take legal or factual
positions in litigation or other legal proceedings in which the Commission is not a
party.

13. Defendant hereby waives any rights under the Equal Access to Justice
Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any
other provision of law to seek from the United States, or any agency, or any
official of the United States acting in his or her official capacity, directly or
indirectly, reimbursement of attorney’s fees or other fees, expenses, or costs
expended by Defendant to defend against this action. For these purposes,
Defendant agrees that he is not the prevailing party in this action since the parties
have reached a good faith settlement.

14. Defendant agrees that the Commission may present the Judgment to
the Court for signature and entry without further notice.

15. Defendant agrees that this Court shall retain jurisdiction over this

matter for the purpose of enforcing the terms of the Judgment or imposing

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William Rhew III

Dated: A-29 -Z24

On Casha AW _, 2024, William Rhew III, a person known to me,
personally appeared before me and acknowledged executing the foregoing

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Notary Publit
Notary Publi expires:

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COUNTY OF DAVIE

KIMBERLY $. HICKS
Approved as to form: fy Gom Gommtigsion Expires LAA LA

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{oShua H. Bennett

Bennett Guthrie PLLC

1560 Westbrook Plaza Drive
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Attorney for Defendant

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